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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        :           CRIMINAL ACTION
                                                :
   v.                                           :           No. 20-417-3
                                                :
KHALIF SEARS                                    :

                                            ORDER

        AND NOW, this 18th day of December, 2024, upon consideration of Defendant Khalif

Sears’ Motion to Join Co-Defendant’s Motion 182 (Defendant Dominique Parker’s Motion to

Sever) it is hereby ORDERED the Motion (ECF No. 185) is GRANTED. Where applicable,

Defendant Khalif Sears shall be afforded the same relief granted to his co-defendant.



                                                    BY THE COURT:


                                                    /s/ Juan R. Sánchez
                                                    Juan R. Sánchez, J.
